Case 1:22-mc-00347-LPS Document14 Filed 12/12/22 Page 1 of 2 PagelD #: 135
Case 1:22-mc-00347-LPS Document13 Filed 12/09/22 Page 4 of 5 PagelD #: 133

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

DRESSER-RAND COMPANY,
Plaintiff,

v. Case No. 22-mc-00347-UNA

PETROLEOS DE VENEZUELA, S.A.,

Defendant. /
[PROPOSED] STIPULATED ORDER

Upon review and consideration of Dresser-Rand Company’s Motion for an Order

 

 

Authorizing a Writ of Attachment Fieri Facias (“Plaintiff's Motion”) and the accompanying
materials submitted in support of Plaintiff's Motion, and in accordance with 28 U.S.C § 1610(c),
Rule 69 of the Federal Rules of Civil Procedure, Local Rule 69.1, 10 Del, C. § 5031, 8 Del. C. §
324, and the Rules of the Delaware State Courts, it is hereby:

ORDERED that Plaintiff's Motion is GRANTED solely to the extent that the Court has
granted similar relicf to Phillips Petroleum Company Venezucla Limited and ConocoPhillips
Petrozuata B.V. (Misc. No. 19-342, D.{. 43), ConocoPhillips Gulf of Paria B.V. (Misc. No, 22-
264, D.I. 20), and Red Tree Investments, LLC (Misc. Nos. 22-68, 22-69, D.I. 15), and subject to
Petréleos de Venezuela, S.A.’s rights of appeal and the preservation of its objections as set forth
in PDVSA’s briefs in those cases and which are incorporated herein by reference.!

ORDERED that upon the Court’s receipt of evidence that the U.S. Treasury Department’s

Office of Foreign Assets Control has either (i) authorized the issuance and service of a writ of

 

' Phillips Petroleum Co. Venezuela Ltd. v. Petréleos de Venezuela, S.A., Misc. No. 19-342-LPS, DL 11, 33, 36 (D.
Del.); ConocoPhillips Gulf of Paria B.V. v. Corporacién Venezolana del Petraleo, S.A., Misc. No. 22-264-LPS, D.I.
12 (D. Del.}; Red Tree Invs,, LLC v. Petréleos de Venezuela, 5.A., Misc. Nos. 22-68-LPS & 22-69-LPS, D.I. 10; 14

(D, Del.).
Case 1:22-mc-00347-LPS Document14 Filed 12/12/22 Page 2 of 2 PagelD #: 136
Case 1:22-mc-00347-LPS Document 13 Filed 12/09/22 Page 5 of 5 PagelD #: 134

attachment or (ii) removed the sanctions under which the PDVH shares are currently blocked
property, then the Clerk of this Court is authorized to affix its original signature and seal on

Plaintiff's writ of fieri facias. The Clerk of Court is directed not to issue or serve the writ of

attachment until further order of the Court.

SO ORDERED nid ee DULY

HONORABLE LEONARD P. STARK
